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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

  DEVIN GRANDIS                                    )
                                                   )
                   Plaintiff,                      )   CASE NO. 22-CV-61477-JB
                                                   )
  v.                                               )   JUDGE JACQUELINE BECERRA
                                                   )
                                                   )
  BGIS GLOBAL INTEGRATED                           )
  SOLUTIONS US LLC                                 )   AMENDED ANSWER OF DEFENDANT
                                                   )   BGIS GLOBAL INTEGRATED
                   Defendants.                     )   SOLUTIONS US LLC TO PLAINTIFF’S
                                                   )   AMENDED COMPLAINT
                                                   )
                                                   )


          Defendant BGIS Global Integrated Solutions US LLC (“BGIS”) for its Amended Answer

  to plaintiff Devin Grandis’s Amended Complaint [DE 171] states as follows:

                                    PREFATORY STATEMENT

          On November 30, 2022, the Court granted BGIS’s Motion to Dismiss Counts III and IV—

  the only claims asserted by former plaintiff Advanced Power Technologies, LLC (“APT”)—and

  Compel Arbitration of those claims. [See DE 34.] On December 16, 2022, the Court granted former

  defendant BIFM Jersey Topco Limited’s (“BIFM”) Motion to Dismiss, including Count VI

  (Counts III, IV, and VI, collectively the “Dismissed Claims”). BIFM and APT are no longer parties

  to this lawsuit (APT and BIFM, collectively, the “Dismissed Parties”). [See DE 37.] Many

  allegations in the Complaint relating to the Dismissed Parties and Dismissed Claims are now moot.

  Therefore, where relevant, BGIS will deny any such allegations as moot.

             Additionally, in ruling on BGIS’s Motion to Strike Plaintiff Devin Grandis's Amended

  Complaint and Motion to Dismiss for Failure to State a Claim or in the Alternative to Allow

  Additional Discovery (the "Motion") [DE 173], the Court found inter alia that Grandis “can only

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  recover damages resulting from BGIS’s interference with Plaintiff’s possessory interest in the

  Stamp under the Florida law of conversion, not BGIS’s alleged misuse of the Stamp.” [DE 184 at

  pp. 7-8.] The Court, therefore, granted the Motion in part, dismissing Count V (“Conversion of the

  Facsimile Stamp of Grandis’s Signature”) “with prejudice to the extent it seeks actual and

  consequential damages,” including any damages related to BGIS’s alleged use of the Stamp. [Id.

  at p. 14.] Therefore, where relevant, BGIS will deny any such allegations regarding the use of the

  Stamp as moot.

                                            INTRODUCTION

          To the extent that the Court may construe the Introduction section of the Amended

  Complaint [DE 171 at pp. 1-2] to contain allegations, BGIS denies all such allegations in the

  Introduction.

                              JURISDICTION, PARTIES, AND VENUE

        1.        BGIS admits the allegation in paragraph 1 of the Amended Complaint.1

        2.        BGIS admits the allegation in paragraph 2 only for the purpose of acknowledging

  that diversity jurisdiction exists. BGIS denies any portion of paragraph 2 not expressly admitted.

        3.        BGIS admits the allegation in paragraph 3 only for the purpose of acknowledging

  that diversity jurisdiction exists. BGIS denies any portion of paragraph 2 not expressly admitted.

        4.        BGIS admits this Court has jurisdiction in this action. BGIS denies any portion of the

  allegations in paragraph 4 not expressly admitted.

        5.        BGIS denies the allegation in paragraph 5.

                                        GENERAL ALLEGATIONS

        6.        BGIS denies the allegation in Paragraph 6 for lack of knowledge.



  1 Unless otherwise specified, all paragraph references refer to the paragraph in the Amended
    Complaint.
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        7.       BGIS admits that it is a provider of facility management, technical services and

  project delivery, energy and sustainability, asset management, and real estate services. BGIS

  admits that it sought to acquire the assets of APT. BGIS denies the remaining allegations in

  Paragraph 7.

        8.       BGIS admits that in December 2021, it acquired substantially all of APT’s assets.

  BGIS denies the remaining allegations in Paragraph 8.

        9.       BGIS admits the allegation in Paragraph 9. Regarding footnote 2 of the Amended

  Complaint, BGIS admits that Grandis’s claims do not arise out of the Asset Purchase Agreement

  (“APA”) and, as stated in the Prefatory Statement, all such allegations are moot. BGIS denies the

  remaining allegations contained in footnote number 2 in the Amended Complaint.

        10.      BGIS admits that it agreed to purchase substantially all of APT’s assets for a purchase

  price at a maximum of $15 million, which was comprised of several parts, including a base

  purchase price of $4.5 million and two contingent earnout payments based on EBITDA for the

  years 2022 and 2023. BGIS further admits that the maximum amount of each earnout payment

  was $5.25 million. BGIS denies the remaining allegations in Paragraph 10 both as alleged and as

  moot. Furthermore, BGIS denies the allegations contained in footnote number 3.

        11.      BGIS denies the allegations in Paragraph 11 as moot. Notwithstanding the mootness

  of these allegations, BGIS admits that, pursuant to the terms of the APA, it paid $4.5 million to an

  account as explicitly specified by Grandis, at Grandis’s sole discretion. BGIS denies the remaining

  allegations in Paragraph 11 as alleged.

        12.      BGIS denies the allegations in Paragraph 12 as moot. Notwithstanding the mootness

  of these allegations, BGIS admits that, on the Closing Date, it acquired substantially all of APT’s

  assets. BGIS denies the remaining allegations in Paragraph 12 as alleged. Regarding footnote

  number 4, BGIS admits that, as part of the APA, Grandis agreed for certain of his affiliates to enter

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  into an exclusive business relationship with BGIS, including Creative Lighting, LLC and Team E-

  Motion, LLC. BGIS denies the remaining allegations in footnote number 4.

        13.    BGIS denies the allegations in Paragraph 13 as moot. Notwithstanding the mootness

  of these allegations, BGIS admits that, based on EBITDA, APT—as the Seller—is not entitled to

  any earnout payments and, therefore to date, APT has not received any earnout payments. BGIS

  denies that plaintiff Grandis is entitled to any earnout payments under the express terms of the

  APA. BGIS denies the remaining allegations in Paragraph 13 both as alleged.

        14.    BGIS denies the allegations in Paragraph 14 as moot. Notwithstanding the mootness

  of these allegations, BGIS admits that, based on the working capital calculations, APT (now known

  as ASE) owes BGIS approximately $717,778. BGIS denies the remaining allegations in Paragraph

  14 as alleged.

        15.    BGIS admits that BGIS and Grandis entered into an employment agreement

  (“Employment Contract”) with a base salary of $300,000 per year and the potential to earn an

  annual bonus. BGIS further admits that, under the Employment Contract, Grandis would be

  entitled to certain severance payments if BGIS terminated his employment without cause. BGIS

  denies the remaining allegations in Paragraph 15.

        16.    BGIS admits that the Employment Contract was executed by BGIS and Grandis on

  or about December 21, 2021 and December 24, 2021, respectively. BGIS denies the remaining

  allegations in Paragraph 16.

        17.        BGIS denies the allegations in Paragraph 17.

        18.        BGIS admits the allegations in Paragraph 18. Further answering, BGIS denies that

  the allegations in Paragraph 18 accurately describe the full contents of the March 7, 2022, Warning

  Letter and, therefore, refers to the document for its contents.




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        19.       BGIS admits that Grandis received the instructions for the online training on March

  23, 2022. BGIS denies the remaining allegations in Paragraph 19.

        20.       BGIS admits that Nikki Sakoff (“Sakoff”) sent an email to BGIS’s CEO on March

  29, 2022, regarding Grandis’s inappropriate conduct at a trade show in Nashville and that Grandis

  was suspended on March 30, 2022. BGIS denies the remaining allegations in Paragraph 20.

        21.       BGIS admits that it conducted a thorough investigation of the events that occurred

  during the trade show in Nashville regarding Grandis’s conduct. BGIS denies the remaining

  allegations in paragraph 21.

        22.       BGIS admits that it sent Grandis a termination letter on April 7, 2022. Further

  answering, BGIS denies that the allegations in Paragraph 22 accurately describe the full contents

  of the April 7, 2022 termination letter and, therefore, BGIS refers to the document for its contents.

  BGIS denies the remaining allegations in paragraph 22.

        23.       BGIS admits that the Employment Contract defines the term “Cause” and,

  therefore, refers to the Employment Contract for its contents. BGIS denies the remaining

  allegations in paragraph 23.

        24.       BGIS denies the allegations in paragraph 24.

        25.       BGIS denies the allegations in Paragraph 25 for lack of knowledge.

                          COUNT I: BREACH OF THE EMPLOYMENT CONTRACT

        26.       BGIS incorporates its Answers to Paragraphs 1 to 25 as if set forth fully herein.

        27.       BGIS admits that it entered into the Employment Contract, which included a

  starting base salary of $300,000 per year. BGIS denies the remaining allegations in Paragraph 27.

        28.       BGIS admits that it did not provide a Severance Benefit to Grandis within thirty

  days of termination because he was not entitled to it. BGIS denies the remaining allegations in

  Paragraph 28.

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        29.      BGIS denies the allegations in Paragraph 29.

        30.      BGIS denies the allegations in Paragraph 30.

                 WHEREFORE, BGIS requests that the Court dismiss Count I and award BGIS all

      relief that this Court may deem just and proper.

                   COUNT II: BREACH OF THE IMPLIED COVENANT OF GOOD FAITH
                     AND FAIR DEALING UNDER THE EMPLOYMENT CONTRACT

        31.      BGIS incorporates its Answers to Paragraphs 1 to 30 as if set forth fully herein.

        32.      This Paragraph consists of Plaintiff’s characterization of the effect of various legal

  principles to which no response is required. To the extent that the Court deems a response is

  required, BGIS denies the allegations in Paragraph 32.

        33.      BGIS denies the allegations in Paragraph 33.

        34.      BGIS denies the allegations in Paragraph 34.

        35.      BGIS denies the allegations in Paragraph 35.

        36.      BGIS admits that the Employment Contract provides that BGIS may terminate

  Grandis for “Cause,” as defined in the Employment. BGIS denies that the allegations in Paragraph

  36 accurately describe the full contents of the Employment Contract regarding the permissible

  grounds upon which BGIS can terminate Grandis’s employment and, therefore, refers to the

  Employment Contract for its contents. BGIS denies the remaining allegations in Paragraph 36.

        37.      BGIS denies the allegations in Paragraph 37.

        38.      BGIS denies the allegations in Paragraph 38.

                 WHEREFORE, BGIS requests that the Court dismiss Count II and award BGIS all

  relief that this Court may deem just and proper.

                      COUNT III: BREACH OF THE ASSET PURCHASE AGREEMENT

    (BGIS admits that the Court dismissed Count III and referred it to arbitration. [See DE No. 34
   (11/30/22 Order).] BGIS denies that the dismissal was without prejudice as the Court expressly
             dismissed Count III “WITH PREJUDICE.” [Id. (emphasis in original).]
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              COUNT IV: BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
                           REGARDING THE [ASSET PURCHASE] AGREEMENT

    (BGIS admits that the Court dismissed Count IV and referred it to arbitration. [See DE No. 34
   (11/30/22 Order).] BGIS denies that the dismissal was without prejudice as the Court expressly
             dismissed Count III “WITH PREJUDICE.” [Id. (emphasis in original).]

                 COUNT V: CONVERSION OF FACSIMILE STAMP OF GRANDIS’S SIGNATURE

        39.       BGIS incorporates its Answers to Paragraphs 1 to 38 as if set forth fully herein.

  Answering further, BGIS denies the allegations contained in Footnote Number 5.

        40.       BGIS denies the allegations in Paragraph 40 as moot. Answering further,

  notwithstanding the mootness of these allegations, BGIS admits that it used the Stamp after BGIS

  terminated Grandis’s employment and denies the remaining allegations in Paragraph 40 as alleged.

        41.       BGIS denies the allegations in Paragraph 41 as moot. Answering further,

  notwithstanding the mootness of these allegations, BGIS denies the allegations in Paragraph 41

  for lack of knowledge.

        42.       BGIS denies the allegations in Paragraph 42 for lack of knowledge.

        43.       BGIS denies the allegations in Paragraph 43.

        44.       BGIS denies the allegations in Paragraph 44 as moot. Answering further,

  notwithstanding the mootness of these allegations, BGIS admits that it used the Stamp after BGIS

  terminated Grandis’s employment and denies the remaining allegations in Paragraph 44 as alleged.

        45.        BGIS denies the allegations in Paragraph 45 as moot. Answering further,

  notwithstanding the mootness of these allegations, BGIS denies the allegations in Paragraph 45 as

  alleged.

        46.       BGIS denies the allegations in Paragraph 46 as moot. Answering further,

  notwithstanding the mootness of these allegations, BGIS admits that it used the Stamp after BGIS

  terminated Grandis’s employment and denies the remaining allegations in Paragraph 46 as alleged.



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             a. BGIS denies the allegations in Paragraph 46(a) as moot. Answering further,

  notwithstanding the mootness of these allegations, BGIS admits that it used the Stamp after BGIS

  terminated Grandis’s employment and refers to the documents in Exhibit B to the Amended

  Complaint for its contents. BGIS denies the remaining allegations in Paragraph 46(a) as alleged.

             b. BGIS denies the allegations in Paragraph 46(b) as moot. Answering further,

  notwithstanding the mootness of these allegations, BGIS admits that it used the Stamp after BGIS

  terminated Grandis’s employment and refers to the documents in Exhibit C to the Amended

  Complaint for its contents. BGIS denies the remaining allegations in Paragraph 46(b) as alleged.

             c. BGIS denies the allegations in Paragraph 46(c) as moot. Answering further,

  notwithstanding the mootness of these allegations, BGIS admits that it used the Stamp after BGIS

  terminated Grandis’s employment and refers to the documents in Exhibit D to the Amended

  Complaint for its contents. BGIS denies the remaining allegations in Paragraph 46(c) as alleged.

       47.      BGIS admits that the APA required Advanced Power Technologies to change its

  name within sixty (60) days of the Closing Date. Answering further, BGIS admits that it could use

  the name “APT” under the terms of the APA. BGIS denies the remaining allegations in Paragraph

  47 for lack of knowledge.

       48.      BGIS admits that Grandis changed the name of Advance Power Technologies, LLC

  as required under the APA. BGIS denies the remaining allegations in Paragraph 48.

       49.      BGIS denies the allegations in Paragraph 49 as moot. Answering further,

  notwithstanding the mootness of these allegations, BGIS denies the allegations in Paragraph 49 as

  alleged for lack of knowledge.

       50.      BGIS denies the allegations in Paragraph 50 as moot. Answering further,

  notwithstanding the mootness of these allegations, BGIS denies the allegations in Paragraph 50 as

  alleged.

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        51.      BGIS denies the allegations in Paragraph 51 as moot. Answering further,

  notwithstanding the mootness of these allegations, BGIS denies the allegations in Paragraph 51 as

  alleged.

        52.      BGIS denies the allegations in Paragraph 52 as moot. Answering further,

  notwithstanding the mootness of these allegations, BGIS admits that a car driven by an employee

  of BGIS was involved in an accident in Virginia on or about June 28, 2022, and that SMS was

  sued. BGIS admits that on or about March 9, 2023, it transferred title to certain vehicles in its own

  name. BGIS denies the remaining allegations in Paragraph 52 as alleged.

       53.       BGIS denies the allegations in Paragraph 53 as moot. Answering further,

  notwithstanding the mootness of these allegations, BGIS admits that First Horizon Bank rejected

  a check for $4,498.20 due to insufficient funds on August 26, 2022. BGIS denies the remaining

  allegations in Paragraph 53 as alleged.

        54.      BGIS admits that it returned the Stamp to Grandis in or about August 2022. BGIS

  denies the remaining allegations in Paragraph 54 as alleged.

        55.      This Paragraph consists of Plaintiff’s characterization a legal principle regarding

  his alleged right to immediate possession of the stamp to which no response is required. Answering

  further, BGIS denies the allegations in Paragraph 55 as moot to the extent the allegations relate

  the BGIS’s alleged use of the Stamp. BGIS denies the remaining allegations in Paragraph 55 as

  alleged.

        56.      BGIS denies the allegations in Paragraph 56 as moot. Answering further,

  notwithstanding the mootness of these allegations, this Paragraph consists of Plaintiff’s

  characterization a legal principle regarding the legal definition of fraud and forgery for which no

  response is required. Answering further, BGIS denies the allegations in Paragraph 56 of the

  Complaint as alleged.

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         57.      BGIS denies the allegations in Paragraph 57 regarding BGIS’s alleged use of the

   Stamp and actual and consequential damages as moot. Answering further, notwithstanding the

   mootness of these allegations, BGIS denies the allegations in Paragraph 57 as alleged.

         58.      BGIS denies the allegations in Paragraph 58 to the extent they relate to BGIS’s

   alleged use of the Stamp and actual and consequential damages as moot. Answering further,

   notwithstanding the mootness of these allegations, BGIS denies the allegations in Paragraph 58 as

   alleged.

                           PRAYER FOR RELIEF AND JURY DEMAND

           BGIS denies the allegations contained in Grandis’s multiple unnumbered prayers for relief

   and denies that Grandis is entitled to any relief requested. BGIS acknowledges that Grandis has

   requested a jury trial. BGIS also requests a jury trial.

          BGIS denies each and every allegation contained in the Complaint not specifically

   admitted herein, regardless of whether that allegation is contained in the unnumbered paragraphs,

   headings, or elsewhere.

                             AFFIRMATIVE AND OTHER DEFENSES

           BGIS does not assume the burden of proof on any of the following defenses where the

   substantive law provides otherwise.

         1.       The Complaint fails to state a claim, in whole or in part, upon which relief may be

   granted regarding Count V.

                  a.      As briefed in BGIS’s Motion to Dismiss, [DE 173 and 175], and as

   acknowledged in the Court’s Order granting that Motion in part, [DE 184], a portion of Grandis’s

   Complaint fails to state a claim upon which relief may be granted.

         2.       Count V is barred, in whole or in part, by waiver, estoppel, and/or laches.




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              a. Grandis consented to BGIS’s use of the signature stamp and never complained

   about its use to BGIS; therefore Grandis has waived his right to complain regarding failure to

   return the stamp.

              b. Furthermore, Grandis never requested to any manager, officer, or executive at

   BGIS that BGIS return the stamp therefore he is estopped from asserting a conversion cause of

   action.

              c.   Grandis had knowledge that BGIS had possession of the Stamp, including on the

   day BGIS terminated his employment on April 4, 2022.

              d. Grandis filed this lawsuit on July 15, 2022, but asserted no claims or allegations of

   conversion. Grandis, therefore, failed to assert his rights for conversion even though he had the

   relevant knowledge of BGIS’s possession of the Stamp. As there was no claim for conversion,

   BGIS had no knowledge that Grandis would assert such a claim.

              e. Grandis waited nearly two years—after the close of all discovery and on the

   proverbial eve of the trial date—to file an amended complaint wherein he asserted allegations and

   a claim for conversion.

              f. At the time Grandis filed his Amended Complaint, the deadline for discovery had

   long passed.

              g.    BGIS has been prejudiced by Grandis’s unnecessary and protracted delay in

   asserting a conversion claim.

              h.   Count V is therefore barred by the doctrine of laches.

        3.         The claims in the Complaint and any alleged damages were caused by the acts,

   omissions, carelessness, and/or negligence of third persons, for whom BGIS is not legally

   responsible.




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              a. Grandis contends that he communicated his desire for return of the signature stamp

   to BGIS, but he did not.

              b. Grandis alleges that he communicated the request to Annie Lasaga, but Ms. Lasaga

   never communicated that request to BGIS.

              c. BGIS is not legally responsible for Ms. Lasaga’s failure to make that

   communication.

         4.        The claims in the Complaint and any alleged damages were caused by the acts,

   omissions, carelessness, and/or negligence of Plaintiff.

              a. Grandis failed to properly communicate to BGIS that he was requesting the return

   of the signature stamp.

              b. It was his omission, carelessness, and/or negligence that delayed the return of the

   stamp.

         5.        Plaintiff’s injuries and damages, if any, were caused in whole or in part by

   intervening and/or superseding acts or omissions of third parties, thereby barring or diminishing

   any recovery.

              a. Grandis contends that he communicated his desire for return of the signature stamp

   to BGIS, but he did not, nor did he identify any BGIS officer or executive to whom he allegedly

   made that communication.

              b. Grandis alleges that he informed Annie Lasaga that the Stamp was to be returned,

   but Ms. Lasaga never communicated that request to BGIS. BGIS is not legally responsible for Ms.

   Lasaga’s failure to make that communication.

         6.        Plaintiff’s claims are barred by the doctrines of res judicata, collateral estoppel,

   and/or law of the case.




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              a. The Amended Complaint references previously dismissed causes of action and

   alleges facts related solely to those dismissed causes of action. To the extent that any of Grandis’s

   claims are based on allegations related solely to dismissed causes of action, those claims are barred

   by res judicata, collateral estoppel, and/or law of the case.

         7.       Plaintiff’s claims are barred in whole or in part by the doctrine of after-acquired

   evidence to the extent that BGIS’s investigation in this litigation uncovers additional grounds for

   Grandis’s termination for cause.

                                                          Respectfully Submitted,

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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that, on May 29, 2024, a true and correct copy of the foregoing was

   filed via the CM/ECF system, which will serve a true and correct copy of the same to all attorneys

   of record.




                                                  By: /s/ Allison Christenson
                                                     ALLISON CHRISTENSON, ESQ.




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